           Case 3:13-cr-00179-RNC Document 31 Filed 02/10/14 Page 1 of 5




                                UNITED STATES DISTRICT COURT
                                  DISTRICT OF CONNECTICUT

------------------------------------------------------x
                                                      :
UNITED STATES OF AMERICA,                             :         Criminal No. 3:13CR00179(RNC)
                                                      :
v.                                                    :
                                                      :
RAFAEL ORTIZ                                          :         February 10, 2014
                                                      :
------------------------------------------------------x

                    MOTION TO PROVIDE DISCOVERY TO DEFENDANT

        The accused in a criminal matter has certain key rights which cannot be denied him:

        Under the Due Process Clause of the Fourteenth Amendment, criminal prosecutions
        must comport with prevailing notions of fundamental fairness. We have long
        interpreted this standard of fairness to require that criminal defendants be afforded
        a meaningful opportunity to present a complete defense. To safeguard that right, the
        Court has developed “what might loosely be called the area of constitutionally
        guaranteed access to evidence.” United States v. Valenzuela–Bernal, 458 U.S. 858,
        867 (1982).

California v. Trombetta, 467 U.S. 479, 485 (1984).

        The defendant, Rafael Ortiz, seeks to vindicate his fundamental right to access to

evidence in this case. Mr. Ortiz hereby moves for a order permitting undersigned counsel to

provide a copy of any and all discovery materials in this matter to the defendant for his review,

unless the government seeks and is granted a protective order as to particular items of discovery.

        Mr. Ortiz was arrested on state charges on August 1, 2013. He was arraigned on the

federal indictment, which charges him with a single count of possession with intent to distribute

heroin in violation of 21 U.S.C. § 841(b)(1)(C), on September 16, 2013; he has been detained at

the New Haven Correctional Center throughout the pendency of these proceedings. The



                                                          -1-
           Case 3:13-cr-00179-RNC Document 31 Filed 02/10/14 Page 2 of 5




government has provided materials to undersigned counsel pursuant to the Standing Order of this

Court regarding discovery in criminal cases, and pursuant to Rule 16 of the Federal Rules of

Criminal Procedure, including, generally:

       •       police reports regarding the investigation of Mr. Ortiz;

       •       reports regarding the search of an apartment in which Mr. Ortiz is alleged to have

               resided and the materials seized from that apartment;

       •       a witness statement;

       •       and documents regarding Mr. Ortiz’ criminal history.

       The government’s September 17, 2013, cover letter enclosing the initial discovery

materials states that the government “intends to use all the disclosed evidence in its case-in-chief

at trial.” Indeed, in this case, the discovery materials are simple, and not voluminous. The

Indictment is simple, charging only one count, and naming no co-defendants.

       The Complaint and Affidavit filed in the case were unsealed at the request of the

government on September 16, 2013. See Doc. # 10. The unredacted Affidavit, as available to

the public on PACER, details the government’s investigation. See Doc. # 1. The Affidavit

explains that the government alleges that two different cooperating individuals made purchases

of heroin from Mr. Ortiz, and that one of those individuals is prepared to testify at trial. See

Affidavit at 4. The Affidavit also alleges that the government has obtained information from a

seasoned “CI” who has participated in numerous other investigations; the government alleges

that this CI claims Mr. Ortiz was selling heroin from an apartment.

       The Affidavit lists Mr. Ortiz’s date of birth, as well as the full name and date of birth of

another individual, and the street address at which the sales allegedly occurred. The Affidavit


                                                 -2-
          Case 3:13-cr-00179-RNC Document 31 Filed 02/10/14 Page 3 of 5




summarizes the items allegedly located in the apartment after it was searched, and the evidence

against Mr. Ortiz. All of this information is now, and has been for several months, publicly

available on the PACER system.

       Mr. Ortiz has made the reasonable request that he be provided with copies of the

discovery materials – primarily, the police reports of the alleged purchases of heroin and the

reports of the search of the apartment – for his review. While Mr. Ortiz is incarcerated, it is

difficult for him to review the materials if he does not have his own copy; counsel must travel to

the jail, arrange f or a meeting, and sit with Mr. Ortiz while he reviews the materials. The time

available for such meetings is necessarily limited, and Mr. Ortiz is not comfortable that he has

had sufficient time to examine the materials such that he can make sound decisions about his

own case.

       Undersigned counsel therefore requested an agreement from counsel for the government

that Mr. Ortiz be permitted to have a copy of the discovery materials. After extensive

discussions, undersigned counsel proposed a redacted subset of the discovery materials for

disclosure. Counsel for the government consented to Mr. Ortiz being provided with a redacted

version of some of the discovery materials, requesting certain additional redactions. The

redactions made remove all references to the informants utilized by law enforcement, as well as

the names and departments of the officers involved in the investigation.

       Undersigned counsel provided the redacted materials to Mr. Ortiz. However, Mr. Ortiz

continues to feel that he would be better able to prepare his own defense and to assist counsel in

either reaching a resolution or preparing for trial – and, if necessary, prepare for a sentencing – if

he had complete and unredacted copies of the discovery materials. It is noted that the discovery


                                                 -3-
         Case 3:13-cr-00179-RNC Document 31 Filed 02/10/14 Page 4 of 5




materials do not name the informants at any point; the informants are identified only as “CI” or

“CW” in the materials.

       Mr. Ortiz has a right to view the evidence against him. Rule 16 provides that the

government “must permit the defendant to inspect and to copy” documents in the government’s

possession if “the item is material to preparing the defense” or “the government intends to use

the item in its case-in-chief at trial.” Fed. R. Crim. P. 16(a)(1)(E) (emphasis added). Each of the

items provided to undersigned counsel to date fall within this Rule. If the government believes

that disclosure of unredacted copies of these materials to the defendant will endanger the safety

of some third party or pose some other risk, the government should seek a protective order under

Fed. R. Crim. P. 16(d) and show “good cause” for restricting disclosure of the evidence.



                                             Respectfully submitted,

                                             THE DEFENDANT,
                                             RAFAEL ORTIZ

                                             OFFICE OF THE FEDERAL DEFENDER



Dated: February 10, 2014                       /s/ Sarah A. L. Merriam
                                             Sarah A. L. Merriam
                                             Assistant Federal Defender
                                             265 Church Street, Suite 702
                                             New Haven, CT 06510
                                             Phone: 203-498-4200
                                             Fax: 203-498-4207
                                             Bar No.: ct25379
                                             Email: sarah_merriam@fd.org




                                                -4-
          Case 3:13-cr-00179-RNC Document 31 Filed 02/10/14 Page 5 of 5




                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on February 10, 2014, a copy of the foregoing motion was
filed electronically and served by mail on anyone unable to accept electronic filing. Notice of
this filing will be sent to all parties by operation of the Court’s electronic filing system or by mail
to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing.
Parties may access this filing through the Court’s CM/ECF System.


                                                  /s/ Sarah A. L. Merriam
                                                        Sarah A. L. Merriam




                                                  -5-
